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Position ID(s) (CCC000000)            TUF013708
Employment Profile - Effective Date   Effective between 02/09/1987 and 07/27/2020
Position ID                           Payroll Name                                Position Start Date Position Effective DatePosition Effective End Date
TUF013708                             Froese, Julia Lynn                          04/24/2017          03/20/2018
TUF013708                             Froese, Julia Lynn                          04/24/2017          12/04/2017             03/19/2018
TUF013708                             Froese, Julia Lynn                          04/24/2017          04/24/2017             12/03/2017
TUF013708                             Froese, Julia Lynn                          04/27/2015          12/05/2016             04/23/2017
TUF013708                             Froese, Julia Lynn                          04/27/2015          04/27/2015             12/04/2016
TUF013708                             Froese, Julia Lynn                          08/26/2014          08/26/2014             04/26/2015




                                                                                                                                                     EXHIBIT J
                                                                         CONFIDENTIAL                                                                DSI001747
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Location Description Home Department DescriptionJob Title Code   Job Title Description                        Position Status
200                  200-110                    SRCOPMII         Senior Consultant - Project Manager II       Terminated
200                  200-110                    SRCOPMII         Senior Consultant - Project Manager II       Active
200                  200-110                    SRCOPMII         Senior Consultant - Project Manager II       Active
200                  200-110                    CON PM1          Consultant - Project Manager I               Active
200                  200-110                    CON PM1          Consultant - Project Manager I               Active
200                  200-110                    ACAPM            Associate Consultant - Assoc Project Manager Active




                                                                     CONFIDENTIAL                                               DSI001748
